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                                             UNITED STATES
                          SECURITIES AND EXCHANGE COMMISSION
                                           100 F STREET, N.E.
                                         WASHINGTON, D.C. 20549

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July 13, 2023

VIA ECF
Mark Langer, Clerk of Court
U.S. Court of Appeals for the District of Columbia Circuit
333 Constitution Avenue, N.W.
Washington, D.C. 20001-2866

Re:       Response to Grayscale’s Rule 28(j) Letter filed July 10, 2023, in Grayscale
          Investments, LLC v. Securities and Exchange Commission, No. 22-1142

Dear Mr. Langer:

       We write in response to petitioner’s July 10, 2023 letter. The Volatility Shares’ 2x
Bitcoin Strategy ETF (BITX) does not demonstrate arbitrary treatment of spot bitcoin exchange-
traded products (ETPs)1 and its trading is not inconsistent with the Commission’s disapproval of
the proposal to list and trade Grayscale Bitcoin Trust.

        BITX holds Chicago Mercantile Exchange (CME) bitcoin futures contracts, not spot
bitcoin. Registration Statement at 2.2 Spot-based and CME futures-based bitcoin ETPs are
fundamentally different products protected by different market-surveillance mechanisms and
regulatory oversight. SEC Br. 36-49. The Commission disapproved Grayscale because the
proposal presented no supportable basis to conclude that the CME’s surveillance of futures
trading would sufficiently detect and deter fraud and manipulation targeting the bitcoin spot
market and thereby protect against fraud and manipulation in Grayscale’s product. The trading
of BITX—a product that holds only CME bitcoin futures—does not alter this analysis.

        Grayscale’s letter notes that BITX is subject to specific types of leverage and
compounding risks, but those apply to leveraged products regardless of the underlying asset and
are not relevant to the basis for the Commission’s disapproval, which focused on surveillance
and oversight. See Grayscale Order, 87 Fed. Reg. 40299, 40321 (July 6, 2022).



1
  BITX is a CME bitcoin futures-based exchange-traded fund (ETF) registered under the
Investment Company Act and trading pursuant to generic listing standards; its introduction to the
market did not require Commission approval. SEC Br. 17-18.
2
 https://www.sec.gov/Archives/edgar/data/1884021/000138713123004119/btix-
485apos_032323.htm.
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        Grayscale also notes that the BITX Registration Statement states that the value of BITX’s
underlying futures contracts depends on or is derived from bitcoin. But the Commission has
explained that the nature of the relationship between the bitcoin spot and futures markets, to the
extent one exists, is unclear. Because the evidence is mixed, one cannot simply assume, as
Grayscale does, that CME’s surveillance of the futures market would necessarily detect
misconduct targeting Grayscale’s proposed spot-based ETP. SEC Br. 27-32, 36-49. BITX
provides no additional support for Grayscale’s assumption or for the required statutory finding
that the proposed rule change is “designed to prevent fraudulent and manipulative acts and
practices.” 15 U.S.C. 78f(b)(5).

                                                 Respectfully submitted,


                                                         /s/ Emily True Parise
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